Case 8:21-cv-01419-CJC-JDE Document 11 Filed 11/15/21 Page1iofi Page ID#:71

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA JS-6
CIVIL MINUTES — GENERAL

Case No. 8:21-cv-01419-CJC-JDE Date November 15, 2021

Title United African-Asian Abilities Club v. Ares Realty Group LLC

 

 

 

Present: The Honorable CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

 

 

 

Rolls Royce Paschal None Reported
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present

PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION ON NOTICE OF
VOLUNTARY DISMISSAL

The Court, having been advised by the Plaintiff that this action has been resolved by a
Notice of Voluntary Dismissal [10], hereby orders this action dismissed with prejudice. The
Court hereby orders all proceedings in the case vacated and taken off calendar.

 

Initials of Deputy Clerk —s rrp

 

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 1 of 1
